                                 OPINION
On October 15, 1992, appellee, Trent D. Burgan, pled guilty to one count of aggravated burglary, in violation of R.C. 2911.11, and one count of rape, in violation of R.C. 2907.02, with a firearm specification. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of seven to twenty-five years on each count, to be served concurrently. Prior to serving the above terms of incarceration, the trial court also ordered appellee to serve a definite three-year term of incarceration for the firearm specification. Having pleaded guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed August 25, 1997, the trial court, suasponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed. _________________________________ JUDGE WILLIAM M. O'NEILL
FORD, P.J.,
NADER, J., concur.